Case: 16-1546
          Case 1:16-cv-10105-DJC
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                United States Court of Appeals
                                 For the First Circuit
                                    _____________________
 Nos.   16-1546
        16-1977

                                       ANDRE BISASOR,

                                       Plaintiff, Appellant,

                                                v.

       DANSLAV SLAVENSKOJ; HARVARD EXTENSION SCHOOL / HARVARD
    UNIVERSITY; ROBERT H. NEUGEBOREN; MICHAEL SHINAGEL; HUNTINGTON
    LAMBERT; SHIRLEY R. GREENE; MARGARET C. ANDREWS; PHILIP HARDING;
             ASHLEY R. POLLOCK; KRISHAN ARORA; KEN VEDAA,

                                     Defendants, Appellees.

                                      __________________

                                              Before

                                     Howard, Chief Judge,
                              Lynch and Thompson, Circuit Judges.
                                     __________________

                                          JUDGMENT

                                     Entered: March 2, 2017

       Plaintiff appeals from the remand of his case to state court and from the denial of various
 motions. We lack jurisdiction to review the remand pursuant to 28 U.S.C. § 1447(d), and, even if
 we have jurisdiction to review the denial of plaintiff's motions, they were properly denied.

                                                       By the Court:

                                                       /s/ Margaret Carter, Clerk



 cc:
 Andre Bisasor, Danslav Slavenskoj, John Patrick Coakley, William P. Mekrut, Stephen David
 Coppolo, Joseph Patrick Dever
